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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
 COMMITTEE ON WAYS AND                   )
 MEANS, UNITED STATES HOUSE              )
 OF REPRESENTATIVES,                     )
                                        )
            Plaintiff,                  )
                                        )
                       v.                )
                                        ) No. 1:19-cv-1974 (TNM)
 UNITED STATES DEPARTMENT                )
 OF THE TREASURY, et al.                )
                                        )
           Defendants,                   )
                                        )
 DONALD J. TRUMP, et al.,               )
                                        )
           Defendant-Intervenors.       )
                                        )

          DEFENDANTS’ AND DEFENDANT-INTERVENORS’ OPPOSITION
             TO PLAINTIFF’S MOTION TO VACATE HEARING AND
                FOR SUPPLEMENTAL BRIEFING ON MCGAHN

       Defendants and Defendant-Intervenors respectfully submit this opposition to Plaintiff’s

motion to vacate tomorrow’s hearing in favor of simultaneous supplemental briefing. As set out

in Defendants’ and Defendant-Intervenors’ Notice of Supplemental Authority, see ECF No. 84,

the D.C. Circuit’s recent decision in Committee on the Judiciary v. McGahn, No. 19-5331 (D.C.

Cir. Feb. 28, 2020), requires that this case be dismissed—a proposition that Defendants and

Defendant-Intervenors will be prepared to address at the hearing scheduled for March 5, 2020.

Moreover, given the basis of the Court’s holding—that “[l]awsuits to resolve interbranch

informational disputes” do not constitute Article III cases or controversies (Op. 16)—Defendants

and Defendant-Intervenors do not believe supplemental briefing is necessary. To the extent the

Court disagrees, however, Defendants and Defendant-Intervenors would also be prepared to

address a schedule for such briefing at the hearing.
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       Nevertheless, if the Court is inclined to vacate the March 5 hearing and order supplemental

briefing, under no circumstances should the Court order the simultaneous briefing that Plaintiff

proposes. If Plaintiff has a theory for why this case may proceed notwithstanding the decision in

McGahn, the Court should require Plaintiff to articulate it, and then permit Defendants and

Defendant-Intervenors the opportunity to submit a brief in opposition two weeks later.

Dated: March 4, 2020                        Respectfully submitted,

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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
 COMMITTEE ON WAYS AND                   )
 MEANS, UNITED STATES HOUSE              )
 OF REPRESENTATIVES,                     )
                                        )
            Plaintiff,                  )
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                       v.                )
                                        ) No. 1:19-cv-1974 (TNM)
 UNITED STATES DEPARTMENT                )
 OF THE TREASURY, et al.                )
                                        )
           Defendants,                   )
                                        )
DONALD J. TRUMP, et al.,                )
                                        )
           Defendant-Intervenors.       )
                                        )

                                  [PROPOSED] ORDER

      Upon consideration of Plaintiff’s Motion to Vacate Hearing and for Supplemental Briefing

on McGahn, IT IS HEREBY ORDERED that the Motion is DENIED.


Date: ______________                             ___________________________
                                                 HON. TREVOR N. MCFADDEN
                                                 United States District Judge
